Case 2:13-cv-03639-ODW-FFM Document 19 Filed 08/26/13 Page 1 of 2 Page ID #:116




   1   Evan A. Raynes, State Bar No. 164447
       Email: eraynes@symbus.com
   2   Phone: 202-258-0652
   3
       Fax: 540-518-9037
       Symbus Law Group, LLC
   4   1425 K Street, N.W., Suite 350
       Washington, D.C. 20005
   5

   6
       Counsel for Plaintiff
       LITTLE I, INC.                                                               JS-6
   7
                                     UNITED STATES DISTRICT COURT
   8
                                FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9                                      SOUTHERN DIVISION

  10
         Little i, Inc.,
  11

  12                            Plaintiff,
                                                        Civil Action No. CV-13-03639-ODW (FFMx)
  13                       v.
                                                        CONSENT JUDGMENT AND
  14
         World Packaging Corp.,                         DISMISSAL OF ACTION
  15
                                Defendant.
  16

  17

  18           WHEREAS, Plaintiff filed a Complaint against Defendant on May 21, 2013 alleging
  19   patent and trademark infringement;
  20           WHEREAS, the Court extended the time for Defendant to respond to Plaintiff’s Complaint
  21   until August 23, 2013 (ECF No. 17); and
  22           WHEREAS, the parties have reached a settlement of their dispute and stipulate to the
  23   following Consent Judgment and Dismissal of Action;
  24           NOW, THEREFORE, the Court enters the following Consent Judgment and Dismissal of
  25   Action:
  26

  27

  28
                                                       1
Case 2:13-cv-03639-ODW-FFM Document 19 Filed 08/26/13 Page 2 of 2 Page ID #:117




   1           1. This Court has jurisdiction over this action and the parties to this action, and will
   2              have exclusive jurisdiction over any action for breach of this judgment or to
   3              enforce this judgment.
   4           2. Defendant is permanently enjoined from the manufacture, importation, distribution,
   5              sale, offer for sale, or use of Defendant’s Mirrored Tins or Plaintiff’s Patent, or tins
   6              in the same dimensions as Plaintiff’s Mirrored Tins (as those terms are defined in
   7              Plaintiff’s Complaint), subject to the terms of the parties’ settlement agreement.
   8           3. Defendant is permanently enjoined from the use or registration of the term

   9              MIRROR MINT TIN, or any trademark substantially similar to Plaintiff’s

  10              MIRROR MINTS trademark (as those terms are defined in Plaintiff’s Complaint).

  11           4. Defendant acknowledges that Plaintiff’s Patent and Plaintiff’s Registration (as

  12              those terms are defined in Plaintiff’s Complaint) are valid and enforceable.

  13           5. This judgment is binding upon and inures to the benefit of the Parties and their

  14              respective parent, subsidiary, and affiliated companies, and each of their

  15              shareholders, members, directors, officers, employees, agents, successors, and

  16              assigns.

  17           6. Each party will bear its own costs and expenses in connection with this action.

  18           7. Except as otherwise provided in this judgment, this action is dismissed with

  19              prejudice.

  20   IT IS SO ORDERED.
       August 26, 2013
  21
                                                          OTIS D. WRIGHT, II
  22                                                UNITED STATES DISTRICT JUDGE

  23

  24

  25

  26

  27

  28
                                                      2
